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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION


 UNITED STATES OF AMERICA                       CASE NO. 6:21-CR-00043-01

 VERSUS                                         JUDGE ROBERT R. SUMMERHAYS

 CHANCE JOSEPH SENECA (01)                      MAGISTRATE JUDGE CAROL B.
                                                WHITEHURST


                                      MINUTES

       A telephone status conference was held on March 14, 2022, starting at 2:00

 p.m. and ending at 2:05 p.m.1 Participating in the conference, along with the

 undersigned, were Myers Namie and Thomas Johnson on behalf of the Government,

 and Dustin Talbot on behalf of Defendant.

       This matter having already been continued beyond the parameters of the

 Speedy Trial Act, it was decided that trial will be set for August 8, 2022 before Judge

 Summerhays in Lafayette. A pretrial conference will be held on July 21, 2022 at

 10:00 a.m. by phone with the undersigned. Counsel shall access the pretrial

 conference by dialing 877-336-1839, access code 2869540.

       Signed at Lafayette, Louisiana on this 14th day of March 2022.


                                        ____________________________________
                                        CAROL B. WHITEHURST
                                        UNITED STATES MAGISTRATE JUDGE

 1
       Statistical time: 5 minutes.
